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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiff,


                        vs.                               Case No. 07-10143-06-JTM


 CHESTER RANDALL, JR.,
                        Defendant.




                                 MEMORANDUM AND ORDER


       Defendant Chester Randall, after pleading guilty to Count 2 of the Fifth Superseding

Indictment, charging conspiracy to participate in a racketeer influenced and corrupt organization in

violation of 18 U.S.C. § 1962(d), was sentenced to prison for 46 months. (Dkt. 566). The sentence

imposed was at the bottom of the guideline range. The matter is now before the court on Randall’s

Motion to Modify Sentence Pending Appeal. (Dkt. 651). Randall requests that his sentence be

modified based on "Amendment 5."

       The amendment cited by Randall as “Amendment 5" is Amendment 742, which eliminated

the "recency provision" under U.S.S.S.G. 4A1.1(e) from the guidelines effective November 1, 2010.

The effect of this provision, if it were applicable, would be to reduce Randall’s criminal history.

       The government contends that the court is without jurisdiction to hear Randall’s motion,

since the matter is currently on appeal, Randall having submitted a Notice of Appeal on May 11,

2010, citing the observation in Griggs v. Provident Consumer Discount, 459 U.S. 56, 58 (1982) that
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the filing of a notice of appeal “divests the district court of its control over those aspects of the case

involved in the appeal.” Randall contends that the court has jurisdiction, since the appeal does not

include “this particular Issue” involving U.S.S.S.G. 4A1.1(e). (Dkt. 653, at 1).

          The court finds it is without jurisdiction to address Randall’s motion. Randall’s appeal

broadly attacked all aspects of the court’s judgment. In his Notice of Appeal, he asserted that he was

appealing “from the pre-trial rulings, guilty verdicts, final judgement, post-trial rulings, conviction

and sentence, in this case.” (Dkt. 571, at 1). Further, Randall cannot challenge some aspects of his

sentence here, while he is simultaneously attacking other aspects of his sentence in the Court of

Appeals. That is because “a docketed notice of appeal suspends the sentencing court's power to

modify a defendant's sentence.” United States v. Distasio, 820 F.2d 20, 23 (1st Cir. 1987). “Indeed,

the circuit courts have uniformly acknowledged that the sentencing court is without jurisdiction to

rule on a motion for reduction of sentence once a notice of appeal has been docketed.” Id. (citing

cases).

          Second, even if there were no pending appeal, the court would be without authority to

authorize the requested modification. Mr. Randall was sentenced on April 29, 2010, before the

amendment came into effect. Defendants who have already been sentenced are not entitled to relief

under a new guideline amendment unless the Sentencing Commission expressly chooses to make

the amendment retroactive. A guideline amendment is applied retroactively only when it has been

specifically listed among the retroactive amendments identified in USSG § 1B1.10(c). United States

v. Dunphy, 551 F.3d 247, 249 n. 2 (4th Cir.), cert. denied, 129 S.Ct. 2401 (2009).

          Because Amendment 742 is not listed in § 1B1.10(c), it is not retroactive and therefore the

Court is without authority to modify his sentence based on Amendment 742. See United States v.


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Mitchell, 2010 WL 4069520 at *2 (2nd Cir. Oct. 19, 2010) (district court is “required to calculate

[defendant]'s sentence using the Guidelines in effect at the time of sentencing,” and could not

consider the application of the “recency” amendment prior to its effective date). See also United

States v. Jones, No. 4:98cr89, 2010 WL 5057089, *2 (W.D.N.C. Dec. 6, 2010) (“recency

amendment not retroactive); United States v. Boone, No. 3:08CR026, 2010 WL 4853289, *1-2

(E.D. Va. Nov. 23, 2010) (same); United States v. Alonso, No. 3:09-CR-031-L, 2010 WL 4609855,

*.2 (N.D. Tex. Nov. 15, 2010) (same).

       IT IS ACCORDINGLY ORDERED this 6th day of January, 2011, that the defendant’s

Motion to Modify Sentence (Dkt. 651) is hereby denied.




                                                     s/ J. Thomas Marten
                                                    J. THOMAS MARTEN, JUDGE




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